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GL #         Dealer                                       03/13/2020
15000-1000   Floorplan Receivable-114 Used               $123,916.00
15000-1005   Floorplan Receivable-114 Used                $60,872.00
15000-1050   Floorplan Receivable-Alpha Mot               $68,088.00
15000-1055   Flrplan Rble-Am Auto Gallery                 $84,335.20
15000-1075   Floorplan Receivable-Atlantes                $38,584.00
15000-1080   Floorplan Rble-Atlantic Sol.                 $58,611.40
15000-1082   Floorplan Rble-Atlantic Sol.2                $69,091.00
15000-1120   Flrplan Rble-Autos For Animals               $17,271.00
15000-1160   Floorplan Receivable-BH Auto S                $3,277.00
15000-1175   Floorplan Receivable-Boston Au               $98,891.00
15000-1190   Floorplan Receivable-Brevik A/               $10,100.00
15000-1205   Floorplan Receivable-CAP INC                  $6,595.00
15000-1210   Floorplan Receivable-Car Expo                $84,867.00
15000-1230   Floorplan Receivable-Center St               $68,932.00
15000-1240   Flrplan Rble-Champion-Michael                 $7,726.00
15000-1260   Floorplan Receivable-CM Auto S                $8,695.00
15000-1265   Floorplan Receivable-Commonwea               $18,466.00
15000-1270   Floorplan Receivable-Compare A              $117,001.00
15000-1280   Floorplan Rble-Crimson Eliel                  $9,997.00
15000-1290   Flrplan Rble-Cust First Auto                 $11,727.00
15000-1320   Floorplan Receivable-Dialworks               $86,363.00
15000-1351   Floorplan Rble-Eastern-JR                     $4,312.00
15000-1352   Floorplan Rble-Eastern-Joas                  $67,575.00
15000-1353   Floorplan Rble-Eastern-Moises                $48,769.00
15000-1370   Floorplan Rble-Empire Ashot                  $53,832.00
15000-1400   Floorplan Receivable-Exotic Au                   $22.00
15000-1405   Floorplan Receivable-F1 Auto S               $23,106.00
15000-1410   Floorplan Receivable-F1 Motors                  $250.00
15000-1420   Floorplan Receivable-Family Au               $28,011.00
15000-1455   Floorplan Receivable-Global Au                $9,236.00
15000-1465   Floorplan Receivable-Green Lig               $30,702.00
15000-1470   Floorplan Rble-Hadi A/S GC                   $10,959.00
15000-1475   Floorplan Rble-Hadi's A/S                     $2,952.00
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GL #         Dealer                                        03/13/2020
15000-1490   Floorplan Receivable-Hot Rides                $88,634.00
15000-1495   Floorplan Receivable-Hot Wheel                $28,286.00
15000-1500   Floorplan Receivable-Internet                 $29,005.00
15000-1510   Floorplan Receivable-J&K Acqus               $173,648.00
15000-1520   Floorplan Receivable-JGS Auto                  $5,683.00
15000-1535   Floorplan Receivable-Jonah Mot                $83,330.20
15000-1545   Floorplan Receivable-JR's Auto                $72,634.00
15000-1550   Floorplan Receivable-JTS Auto                 $31,491.00
15000-1610   Floorplan Receivable-Main Auto                $70,975.00
15000-1618   Floorplan Rcble-Malcom Lima                   $68,830.00
15000-1622   Floorplan Rble-Mark Prombirant                 $8,750.00
15000-1645   Floorplan Rble-Metro Auto Sale                $74,769.00
15000-1670   Floorplan Receivable-MPV                      $60,770.40
15000-1685   Floorplan Receivable-New To Yo                $72,660.00
15000-1695   Floorplan Receivable-NH Select                   $250.00
15000-1730   Floorplan Receivable-Oval Moto                $12,017.00
15000-1740   Floorplan Receivable-Parkway A                $86,629.00
15000-1750   Floorplan Receivable-Platinum                $184,158.00
15000-1760   Floorplan Receivable-Prime Aut                $13,929.00
15000-1775   Floorplan Receivable-Prime Tim                 $1,172.00
15000-1780   Floorplan Receivable-Reading A                $28,392.00
15000-1810   Floorplan Receivable-Rockingha               $105,543.00
15000-1815   Floorplan Receivable-Roslindal                $30,024.00
15000-1830   Floorplan Receivable-Roxbury M                $22,065.00
15000-1925   Floorplan Receivable-Stadium A                $59,543.80
15000-1935   Floorplan Receivable-Super Aut                $27,358.00
15000-1940   Floorplan Receivable-Super Val                $13,460.00
15000-1955   Floorplan Receivable-Swiftway                 $15,833.00
15000-1980   Floorplan Receivable-Trade Aut                $43,139.00
15000-1990   Floorplan Receivable-Tyme mach                $32,772.00
15000-1992   Floorplan Recble-United Motors                 $4,814.00
15000-1995   Floorplan Receivable-Universal                 $1,374.00
15000-2005   Floorplan Receivable-W & D Aut                $34,901.00
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GL #       Dealer                                   03/13/2020
15000-2015 Floorplan Receivable-Whipout A           $12,850.00
15000-2030 Floorplan Receivable-Windsor W           $48,040.00

                                                  $2,980,861.00
